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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 WAYNE BALIGA, derivatively on behalf of
 LINK MOTION INC. (F/K/A NQ MOBILE INC.)

                              Plaintiff,
                -against-                             Civil Action No.: 1:18-cv-11642

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.), VINCENT WENYONG SHI, JIA LIAN,
 XIAO YU,                                             NOTICE OF MOTION FOR
                                                      INDEMNIFICTION PENDENTE
                              Defendants,             LITE
                -and-

 LINK MOTION INC. (F/K/A NQ MOBILE
 INC.),

                               Nominal Defendant.


       PLEASE TAKE NOTICE that upon the accompanying Declaration of Michael James

Maloney, dated October 14, 2020, the exhibits annexed thereto, the accompanying Memorandum

of Law, and upon all prior proceedings, pleadings, and filings in this action, Defendant Vincent

Wenyong Shi (“Mr. Shi”), by his undersigned counsel, will move this Court, located at the United

States Courthouse for the Southern District of New York, 500 Pearl Street, New York, New York,

before the Honorable Debra C. Freeman, United States Magistrate Judge, at a date and time to be

determined by the Court, for an Order granting the following relief:

       (1)     Declaring, pursuant to the Indemnification Agreement for Directors and Officers,

effective as of March 10, 2011, by and between Link Motion Inc., f/k/a Netqin Mobile Inc. (the

“Company”) and Mr. Shi, that Mr. Shi is entitled to the advancement by the Company of funds for

the payment of legal fees and expenses incurred by Mr. Shi in connection with this action;




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       (2)     Directing Robert W. Seiden, the court-appointed receiver for the Company (the

“Receiver”), to pay from Company’s funds the amount of U.S.$208,474.76 for legal fees and

expenses incurred by Mr. Shi through September 30, 2020 in connection with this action;

       (3)     Directing the Receiver to pay upon presentment future invoices for legal fees and

expenses incurred by Mr. Shi in connection with this action; and

       (4)     Granting such other and further relief as the Court deems just and proper.

       PLEASE TAKE FURTER NOTICE that the time to serve and file papers in opposition

to and/or in further support of this motion shall be governed by Local Rule 6.1(b).

 Dated: New York, New York                          Respectfully submitted,
        October 14, 2020
                                                    FELICELLO LAW P.C.


                                                    By:/s/ Michael James Maloney
                                                        Michael James Maloney
                                                        Rosanne E. Felicello
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                                                    New York, NY 10036
                                                    Tel. 212-584-7806

                                                    Attorneys for Defendant Vincent Wenyong Shi




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